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UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION
UNITED STATES OF AMERICA
“VS- Case Number: 6:08-cr-118-Orl-DDD-DAB

ABEL LAU
USM Number: 10329-062

Rick Jancha, Retained
189 S. Orange Ave., Suite 1800
Orlando, FL 32801

 

JUDGMENT IN A CRIMINAL CASE

The defendant pleaded guilty to Count 27 of the Second Superseding Indictment. Accordingly, the court has adjudicated that
the defendant is guilty of the following offense:

Date Offense Count
Title & Section Nature of Offense Concluded Number
21 U.S.C. § 841(a)(1) and Distribution of controlled substance April 11, 2005 27

18 U.S.C. § 2

The defendant is sentenced as provided in the following pages of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

Counts 1, 22, and 25 of the Second Superseding Indictment dismissed on the motion of the United States.
IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs and special assessments imposed by this judgment are fully paid.

if ordered to pay restitution, the defendant shail notify the court and United States attorney of any material change in the
defendant’s economic circumstances.

Date of Imposition of Sentence: July 2%, 2009

 

David D. Dow, Jr., United States District Judge

July of , 2009

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PROBATION

The defendant is hereby placed on probation for a term of 3 Years with 6 months home detention with electronic
monitoring. Defendant shall be required to contribute to the costs of these services not to exceed an amount
determined reasonable by the Probation Office; defendant shall have work release privileges; defendant will be
allowed to attend religious services.

While on probation, the defendant shall not commit another federal, state, or local crime.

The defendant shall not illegally possess a controlled substance.

The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of
release from custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.
The defendant shail not illegally possess a controlled substance.
For offenses committed on or after September 13, 1994:

The mandatory drug testing requirements of the Violent Crime Control Act are imposed. The Court authorizes
random drug testing not to exceed 104 tests per year.

The defendant shall not possess a firearm, destructive device, or any other dangerous weapon.
if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervision that the defendant
pay any such fine or restitution that remains unpaid at the commencement of the term of supervision in accordance with

the Schedule of Payments set forth in the Criminal Monetary Penalties sheet of this judgment.

The defendant shall comply with the standard conditions that have been adopted by this court (set forth below).
The defendant shall also comply with the additional conditions on the attached page.

STANDARD CONDITIONS OF SUPERVISION

1. The defendant shall not leave the judicial district without the permission of the court or probation officer;

2. The defendant shall report to the probation officer and shall submit a truthful and complete written report within the
first five days of each month;

3. The defendant shall answer truthfully ail inquiries by the probation officer and follow the instructions of the
probation officer;

4. The defendant shal! support his or her dependents and meet other family responsibilities;

5. The defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling,
training, or other acceptable reasons;

6. The defendant shall notify the probation officer at least ten (10) days prior to any change in residence or
employment;
7. The defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or

administer any controlled substance or any paraphernalia related to any controlled substances, except as
prescribed by a physician;

8. The defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or
administered;

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9. The defendant shail not associate with any persons engaged in criminal activity and shall not associate with any
person convicted of a felony, unless granted permission to do so by the probation officer;

10. The defendant shail permit a probation officer to visit him or her at any time at home or elsewhere and shall permit
confiscation of any contraband observed in plain view by the probation officer;

11. The defendant shall notify the probation officer within seventy-two (72) hours of being arrested or questioned by
a law enforcement officer;

12. The defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement
agency without the permission of the court;

13. As directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
defendant’s criminal record or personal history or characteristics, and shall permit the probation officer to make
such notifications and to confirm the defendant's compliance with such notification requirement.

ADDITIONAL CONDITIONS OF PROBATION

The defendant shall also comply with the following additional conditions of probation:

1. The defendant shall participate in a mental health treatment program (outpatient and/or inpatient) and follow the
probation officer’s instructions regarding the implementation of this court directive. Further, the defendant shall
contribute to the costs of these services not to exceed an amount determined reasonable by the Probation Office’s
Sliding Scale for Mental Health Treatment Services.

2. The defendant shall cooperate in the collection of DNA, as directed by the probation officer.
CRIMINAL MONETARY PENALTIES

The defendant shall pay the following total criminal monetary penalties in accordance with the schedule of
payments set forth in the Schedule of Payments.
Total Assessment Total Fine Total Restitution

$100.00 $0.00 $0.00

The defendant shall pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is paid
in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options
on the Schedule of Payments may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

*Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18, United States Code, for offenses
committed on or after September 13, 1994 but before April 23, 1996.

SCHEDULE OF PAYMENTS

Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties shall be due as follows:

Unless the court has expressly ordered otherwise in the special instructions above, if this judgment imposes a period of
imprisonment, payment of criminal monetary penalties shall be due during the period of imprisonment. All criminal
monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility
Program, are made to the clerk of the court, unless otherwise directed by the court, the probation officer, or the United
States attorney.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

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